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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN



UNITED STATES OF AMERICA,

                        Plaintiff,                               Case No. 15-CR-54-2

v.

AMADOU CAMARA,

                        Defendant.__
______________________________________________________________________________
                AMENDED MOTION FOR RELEASE PENDING TRIAL

______________________________________________________________________________

Now comes Amadou Camara, Defendant, by his assigned counsel, Gregory N. Dutch, hereby

moves this court to consider the following release plan pursuant to 18 U.S.C.. § 3142.

        SAFETY/DANGER. Defendant knows of no issues pertaining to these risks.

        FLIGHT RISK. Defendant is not a flight risk. Defendant knew of charges being

brought against his co-defendants, and instead of remaining overseas, did all he could do to

return to the United States. Defendant’s greatest fear was being labeled a fugitive. The

government was aware the defendant was out of the country, knew where he was located, and

was hoping he would find his own way back to the United States, which ultimately happened.
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Defendant passport was seized upon arrival. Defendant has never been charged with a crime, his

family live in Wisconsin, he works in Illinois, and his desire to return to face the charges should

give the court a belief of his remaining to proceed with the case.

        IMMIGRATION STATUS. At the hearing, Attorney Mark Christopher, who

specializes in immigration matters, will appear at counsel table to either answer questions from

the court and the government, or testify at the hearing. For purposes of this motion, dealing just

with the penumbras of the law, it is undersigned attorney’s belief the defendant is in the country

legally under the 2012 executive order called Deferred Action for Childhood Arrivals (DACA).

This classification has not yet been removed. Defendant is also allowed to leave the county and

return, with permission from the government, this is called Advanced Parole. Defendant was

overseas, ready to return home, and there was a problem obtaining his advanced parole, thus he

had to remain in Dubai, then the Philippines for a number of weeks.

        When defendant returned, he was arrested for the charge and ICE now has an active

detainer. If released, ICE has 48 hours to determine if they want to enforce the hold, or lift the

hold and wait for the conclusion of the criminal case. If they decide to hold him, he would be

immediately eligible for bail because of his legal status. Mr. Christopher indicates it would be

“highly unlikely” he would be taken and deported, the most likely scenario will be to wait for the

criminal case to finish, or they would set a reasonable bond.



        PROPOSED PLAN.

        Defendant would request to live in Chicago, closer to his employment. He would not be

living at his old apartment, but with a new roommate. The address is 515 W. Barry Ave, # 353,

Chicago IL 60657. His roommate is Gary Filipp who is aware of the criminal charges and would
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notify pre trial services if defendant was not abiding by his conditions of release. He could also

stay with his parents, Habibou and Hatti Camara, 251 Talbert Place, Sun Prairie WI. However,

his employment is in Chicago, so if that residence is authorizes, I would request a travel area , if

restricted, to include the Northern District of Illinois. Defendant would be willing to wear a

bracelet if the court believed this was necessary. He would avoid contact with co-defendants and

witnesses the government might require. He would not use any illegal drugs and would submit

to random urine analysis if requested by pre trial services. He is employed at Walton Street

Capital, as an equity advisor, and it does not appear there need be any restrictions placed on his

job. Given he is not at safety risk nor a risk for fleeing, and it would appear his immigration

status is stable, we believe any concerns the government might have are met by the above plan

and would request release with any other conditions the court may impose.

                                          Respectfully Submitted,

                                          GREGORY N. DUTCH
                                          Attorney For Amadou Camara



                                          s/Gregory N. Dutch
                                          Appointed counsel

                                      CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2015, I electronically filed the foregoing with the Clerk
of Court for the United States District Court of Wisconsin, Western Division by using the
CM/However, ECF system. Participation in the case who are registered CM/ECF users will be
served by the CM/ECF system. I further certify that Camara in this case is not a CM/ECF user. I
have mailed the foregoing document by First Class Mail, postage prepared within 3 calendar days
to the non-CM/ ECF participant.




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                        s/Gregory N. Dutch
                        Gregory N. Dutch




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